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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                     April 19, 2019
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk

                           BROWNSVILLE DIVISION


UNITED STATES OF AMERICA                      §

                                              §              Criminal No.
                                                               1:19-MJ-468-02
Ashley Rene Resendiz                          §



                   ORDER OF DETENTION PENDING TRIAL

     On April 19, 2019, defendant and her counsel submitted a Waiver of Detention
Hearing.

        The Court adopts the assessment of non-appearance and the assessment of danger
as listed in the Pretrial Service Report and finds the presumption of dangerousness
and risk of flight that arises in this case has not been overcome. It is ORDERED
that the defendant be detained without bond pending trial.

       The defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to
the United States Marshal for the purpose of an appearance in connection with a court
proceeding.

       Done at Brownsville, Texas this 19th day of April, 2019.




                                                        ____________________________
                                                              Ignacio Torteya, III
                                                        United States Magistrate Judge
